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                    EXHIBIT 1
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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, JOHN DOE, JANE DOE 1, JANE
   DOE 2, and JANE DOE 3,

                                 Plaintiffs,
   v.

   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VANGUARD
   AMERICA, ANDREW ANGLIN,                               Civil Action No. 3:17-cv-00072-NKM
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSELY,
   IDENTITY EVROPA, MATTHEW                                  JURY TRIAL DEMANDED
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, MICHAEL “ENOCH”
   PEINOVICH, LOYAL WHITE KNIGHTS OF
   THE KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,

                                 Defendants.


                                DECLARATION OF JANE DOE 1

         I, Jane Doe 1, declare as follows.

         1.      I am over the age of eighteen years, and the facts set forth herein are true and

  correct to the best of my personal knowledge, information, and belief.
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         2.      I am a female Jewish undergraduate at the University of Virginia (“UVA”), and a

  resident of Charlottesville, Virginia. I attend Congregation Beth Israel in Charlottesville.

         3.      My sister is Jane Doe 3, and my mother is Jane Doe 2.

         4.      On August 11, 2017, Defendants had organized and engaged in a torchlight march

  in Charlottesville, which was to culminate at the statue of Thomas Jefferson near the Rotunda at

  UVA. I peacefully protested Defendants’ neo-Nazi and white supremacist march at the Rotunda,

  along with a group of around 30 students and community members who locked arms around the

  Thomas Jefferson statue.

         5.      As Defendants’ mob reached the steps of the Rotunda, hundreds of neo-Nazis and

  white supremacists descended upon us and circled us, preventing us from leaving the area. They

  shouted racist and anti-Semitic threats and chants. They also sprayed protesters with mace or

  another type of caustic substance, which made my eyes burn and made it hard to breathe. I was

  terrified and feared for my life, and was eventually able to escape the area.

         6.      On August 12, 2017, Defendants continued their neo-Nazi and white supremacist

  march, and I again peacefully protested, this time with Jane Doe 2 and Jane Doe 3.

         7.      During the protest, Jane Doe 3 and I were part of a group of counter protesters on

  Fourth Street in downtown Charlottesville. While we were peacefully protesting, Defendant

  Alex Fields intentionally drove a car directly into our crowd of defenseless people, striking me

  and several other protesters.

         8.      I woke up on the ground in severe pain, disoriented, bleeding from a laceration on

  my head, and in shock. My sister Jane Doe 3 was by my side and tried to stop the bleeding.

  After about 25 minutes, an ambulance arrived and rushed me to the hospital. The hospital was

  on lockdown because of the car attack, and my sister was not allowed in with me.



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          9.     The car attack broke both of my legs, caused me to suffer a concussion and severe

  contusions, and I required major surgery to repair bone and multiple ligaments. I spent several

  days in the hospital, and my recovery will take over a year and require extensive physical

  therapy sessions several times each week. I also experience emotional distress as a result of the

  attack, and am unable to return to school full time. I am currently in psychological counseling to

  help me cope with my new physical limitations resulting from my injuries.

          10.    In the aftermath of the events on August 11-12, I have met with a security expert

  and have taken steps to increase my safety and guard against further harm from Defendants and

  their supporters.

          11.    I fear that if my identity is disclosed in this action, I will be targeted by

  Defendants and/or their supporters and sympathizers because I am a Jewish plaintiff and was a

  counter-protester, and will be subjected to further threats, harassment, violence, and other

  physical and mental harm. And, if my identity is disclosed, it would also reveal the identifies of

  my close relatives -- including my mother Jane Doe 2 and my sister Jane Doe 3, and subject

  them to similar physical and mental harm.

          I declare under penalty of perjury under the laws of the United States of America that the

  above is true and correct. Executed this 13th day of November, 2017 in Charlottesville,

  Virginia.




                                                         /s/ Jane Doe 1
                                                         Jane Doe 1

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